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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------- X
 NAVESINK PRESTIGE, LLC,

                                      Plaintiff,         Civil Action No.: 1:23-cv-09046


                   -against-

 SLSCO, LP,                                                            COMPLAINT

                                  Defendant.
---------------------------------------------------------- X

        Plaintiff, Navesink Prestige, LLC, by way of Complaint against

Defendant, SLSCO, LP, allege as follows:

                                         THE PARTIES
        1.      Navesink Prestige, LLC (“Plaintiff”) is a company with its

principal place of business located at 191 Monmouth Avenue, Atlantic

Highlands, New Jersey 07716.

        2.      Upon information and belief, defendant SLSCO, LP (“SLSCO”) is

a company with its principal place of business located at 6702 Broadway St,

Galveston, Texas 77554.




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                                  JURISDICTION

      3.    The amount in controversy, exclusive of interest and costs,

exceeds the sum of $75,000 and by virtue of diversity of citizenship of

Plaintiff and Defendant, this Court has jurisdiction over this action under the

provisions of 28 U.S.C. §1332.

      4.    Venue of the following claims is laid in this District pursuant to

28 U.S.C. §1391(a) pursuant to the contract between the parties which

requires claims to be heard in the courts of the United States located in the

City of New York, New York and a substantial part of the events giving rise

to the claims occurred in this judicial district.

                             BACKGROUND FACTS

      5.    SLSCO entered into a contract with the City of New York,

Department of Design and Construction (“Prime Contract”) to serve as a

construction     manager     related    to     the     project/program    known     as

“CM/DESIGN/BUILD            FOR        HURRICANE          SANDY      RESIDENTIAL

COMMUNITY RECOVERY PROGRAM – IN THE BOROUGH OF STATEN

ISLAND” (the “Program”).

      6.       Navesink    and   SLSCO       entered    into   separate   Prequalified

Contractor Agreements (“Agreements”) for each project where work was being

performed pursuant to the Program.




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      7.    Pursuant to the Agreements and the Prime Contract, certain claims

were to be submitted by SLSCO pursuant to Article 29 – Resolution of Disputes

of the Prime Contract.

      8.    During the course of the work under the Agreements, Navesink

performed certain additional work and issued change orders related to same.

      9.    These change orders were denied in whole or in part and, as a

result, Navesink submitted various Notices of Dispute to SLSCO.

      10.   The Notices of Dispute submitted to SLSCO, included, but are not

limited to, the following projects:

            a. 1 Center Place, Staten Island, New York

            b. 1 Neutral Avenue, Staten Island, New York

            c. 167 Marine Way, Staten Island, New York

            d. 218 Wiman Avenue, Staten Island, New York

            e. 336 Freeborn Street, Staten Island, New York

            17 Iona Avenue, Staten Island, New York

            (collectively referred to as “NODs”)

      11.   Pursuant to the Agreements, SLSCO was to submit the NODs

pursuant to the Article 29 protocols for review and determination.

      12.   Navesink became aware that SLSCO failed to submit the NODs

and therefore the City of New York was unaware of and did not review or make

a determination related to these NODs.




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                              FIRST COUNT
                            (Breach of Contract)

      13.    Navesink and SLSCO entered into various Agreements.

      14.    SLSCO breached the Agreements by failing to timely submit

claims on behalf of Navesink, including, but not limited to, the NODs

referenced above.

      15.    As a result of SLSCO’s breach of the Agreements, Navesink has

incurred significant damages.

      WHEREFORE, Plaintiff, Navesink Prestige, LLC, demands judgment

against Defendant, SLSCO, LP, for damages including compensatory and

consequential damages, together with interest and costs as provided by law,

as well as all other relief deemed appropriate by the court or provided by

statute.

                              SECOND COUNT
                                (Negligence)

       16.   Navesink repeats each and every allegation contained in the

preceding paragraphs, as if same were set forth at length herein.

       17.   SLSCO owed a duty to Navesink to submit Navesink’s claims,

including the NODs referenced above.

       18.   Navesink breached its duty to SLSCO by failing to timely and

properly submit the NODs.

       19.   As a result, Navesink has incurred significant damages.




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      WHEREFORE, Plaintiff, Navesink Prestige, LLC, demands judgment

against Defendant, SLSCO, LP, for damages including compensatory and

consequential damages, together with interest and costs as provided by law,

as well as all other relief deemed appropriate by the court or provided by

statute.

                               THIRD COUNT
           (Breach of the Covenant of Good Faith and Fair Dealing)

       20.    Navesink repeats each and every allegation contained in the

preceding paragraphs, as if same were set forth at length herein.

       21.    SLSCO breached the covenant of good faith and fair dealing

contained or implied in the contract due to SLSCO’s actions or inactions

including but not limited to the following:    failing to timely and properly

submitting Navesink’s NODs and other claims.

       22.    As a result of said breach, Navesink has suffered significant

damages.

      WHEREFORE, Plaintiff, Navesink Prestige, LLC, demands judgment

against Defendant, SLSCO, LP, for damages including compensatory and

consequential damages, together with interest and costs as provided by law,

as well as all other relief deemed appropriate by the court or provided by

statute.




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Dated:     New York, New York              TESSER & COHEN
           December 8, 2023                Attorneys for Plaintiff,
                                           Navesink Prestige, LLC


                                    By:    _______________________
                                           Danielle Cohen, Esq.
                                           946 Main Street
                                           Hackensack, New Jersey 07601
                                           (212) 226-1900



                             JURY DEMAND
     Plaintiff hereby demands a trial by jury on all issues.


Dated:     New York, New York              TESSER & COHEN
           December 8, 2023                Attorneys for Plaintiff,
                                           Navesink Prestige, LLC


                                    By:    _______________________
                                           Danielle Cohen, Esq.
                                           946 Main Street
                                           Hackensack, New Jersey 07601
                                           (212) 226-1900




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